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                 LETTER TO THE HONORABLE
                  NAOMI REICE BUCHWALD,
                    dated December 26, 2024




                        Exhibit C
                 [redacted; English translation only]


4911-8942-9257
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                  Machine Translation of STEIN_LHOTE0008977-08979
Boutrup, Heidi Hasseriis (HHA032)

From: Erlandsen, Katinka (KER002)
Sent: March 24, 2022 09:40
To: Erlandsen, Katinka (KER002)
Subject: Request for additional information regarding the Tax Agency’s settlement agreement
Attached files: Brev til Skattestyrelsen_anmodning om yderligere oplysninger - vedr. 0vr .... pdf


From: Bettina Spang                 @sktst.dk
Sent: February 3, 2022 12:54
To: Kjærsgaard, Niels Dengsøll (NDK001) <             @politi.dk>
Cc: Gry Ahlefeld-Engel                       @SKTST.DK; Camilla Lindrum Bay
            @sktst.dk; Bettina Spang                @sktst.dk
Subject: Request for additional information regarding the Tax Agency’s settlement agreement


To NSK:

After a telephone discussion between NSK v/Per Fiig and the Tax Agency v/Gry Ahlefeld-Engel, the
Tax Agency understands that the attached inquiry is no longer relevant as the case - according to the
information provided - is sufficiently clarified in NSK.

The Tax Agency will not take any further action.

NSK is welcome to contact us should you need anything further.

Best regards,

Bettina Spang
Chief Consultant
Management Secretariat Special Control

+45
                @sktst.dk


Tax Agency
Helgeshøj Allé 49-55, 2630 Taastrup
www.sktst.dk

How we process personal data
The Tax Agency is part of the Tax Administration



From:         @politi.dk           @politi.dk
Sent: February 26, 2021 14:28
To: Bettina Spang                @sktst.dk
Subject: Request for additional information regarding the Tax Agency’s settlement agreement

This email comes from the internet and is therefore not necessarily from an internal source even
though the sender address may indicate it.
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Attached is SØIK’s request for additional information regarding the Tax Agency’s settlement
agreement.


Best regards,

Stine Winther
Special Prosecutor
Mobile: +45
Email:        @politi.dk


STATE PROSECUTOR

State Prosecutor for Serious Economic and International Crime

Kampmannsgade 1
DK-1604 Copenhagen V
Phone: +45 72 68 90 00
Fax: +45 45 15 00 16
Email: saoek@ankl.dk
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                                                            STATE PROSECUTOR

Tax Administration

                                                            Date: February 26, 2021
                                                            Case No.: SØK-
                                                            Case Handler: SWI

                                                            State Prosecutor for Serious Economic and
                                                            International Crime

                                                            Kampmannsgade 1
                                                            1604 Copenhagen V

                                                            Phone: +45 72 68 90 00

                                                            Email: saoek@ankl.dk
                                                            www. anklagemyndigheden.dk
                                                            www.politi.dk




Request for Additional Information regarding the Tax Administration’s settlement

As of February 26, 2021, I hereby request additional information regarding the Tax Administration’s
settlement and the material that the Tax Administration or its advisors may have come into possession
of as part of the settlement.

It appears from the Tax Administration’s response to questions 20-22 in our letter of January 28,
2021, that the 3 main shareholders in North Channel Bank have assisted in obtaining documents for
the purpose of collecting the Tax Administration’s claims against individuals or entities not covered
by the settlement.

In this regard, SØIK kindly requests to receive all material concerning Guenther Klar, Rajen Shah,
Anupe Dhorajiwala, and Graham Horn, which the Tax Administration or its advisors may be in
possession of.

If the Tax Administration has any questions regarding this request, please contact special prosecutor
Stine Winther at phone number             or via email:        @politi.dk.


                                          With kind regards

                                              [signature]

                                      Malene Stage Christensen
                                      Acting Chief Prosecutor
